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                                           U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007

                                                     August 18, 2023

VIA ECF and Email
Hon. Analisa Torres
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

         Re:      United States v. Yanping Wang, a/k/a “Yvette,” S1 23 Cr. 118 (AT)

Dear Judge Torres:

      The Government respectfully writes in response to the Court’s order and email, dated
August 11, 2023. (Dkt. 126.)

    I.         Ex Parte Submissions Are Appropriate to Protect the Government’s Confidential
               Information

        As an initial matter, after the Government filed its motion to disqualify Emil Bove (“Bove”)
on August 4, 2023 (Dkt. 120), Bove requested that the Government share with him additional
material that had been redacted in the Government’s filing. Following a dialogue, the Government
underacted additional portions of its moving brief and provided it to Bove. 1 During those
discussions, Bove stated that he was “not challenging [the Government’s] determination [that ex
parte materials contain confidential information] or seeking access to those details.” (Email from
E. Bove, dated August 5, 2023.) The Government does not read Bove’s motion to seek access to
the ex parte material.

       The submission of portions of the Government’s motion papers and affidavits on an ex
parte basis is warranted because they contain confidential information relating to, among other
things, the Government’s ongoing investigation, subjects of that investigation, and the
Government’s privileged work product, including its current assessments of defense, and
Government, trial strategy. (See, e.g., Gov’t Br. at 22 & n.13; Reply (Dkt. 125) at 4-5, 6, & n.4.)
These are valid reasons to prohibit defense access to this material. Ex parte submissions are
appropriate when a submission contains information relating to ongoing investigations. United
States v. Loera, No. 9 Cr. 466 (BMC), 2017 WL 2821546, at *2 (E.D.N.Y. June 29, 2017)
1
  The version of the August 4, 2023 motion provided to Bove is being submitted to the Court via
email, as well as the exhibits provided to Bove, along with this letter. In that version, the
Government made available to Bove (a) the text on pages 3 and 4 (which describes facts including
information that was contained in the Warrants); (b) a portion of the text on page 5 (which
describes the general scope of the TIN Matter AUSAs’ substantive interactions with Bove in his
supervisory role); and (c) the majority of the text in footnote 7 (which describes certain factual
information about Mei Guo).
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(collecting cases); see also United States v. Smith, 985 F. Supp. 2d 506, 531 (S.D.N.Y. 2013) (ex
parte communications are permitted where “there are ongoing investigations into criminal conduct
related to the discovery materials”); United States v. Paloscio, No. 99 Cr. 1199 (LMM), 2002 WL
1585835, at *3 (S.D.N.Y. July 17, 2002). Information regarding the Government’s legal theories,
mental impressions, thought processes, and predictions of trial strategy is protected by the work-
product doctrine, which prohibits “unwarranted inquiries into the files and the mental impressions
of an attorney.” Hickman v. Taylor, 329 U.S. 495, 510, (1947); accord In re Grand Jury, 138 F.3d
978, 980 (3d Cir. 1998); United States v. Nobles, 422 U.S. 225, 238 & n. 12, (1975); In re Grand
Jury Subpoenas Dated Oct. 22, 1991 & Nov. 1, 1991, 959 F.2d 1158, 1166 (2d Cir. 1992).

          The appearance of a conflicted attorney does not require a former client to divulge
confidential information when seeking disqualification. See N.Y. Rules of Prof’l Conduct 1.9,
cmt. 3 (“A former client [i.e., the Government] is not required to reveal the confidential
information learned by the lawyer [i.e., Bove] in order to establish a substantial risk that the lawyer
has confidential information to use in the subsequent matter.”); see, e.g., Decora Inc. v. DW
Wallcovering, Inc., 899 F. Supp. 132, 138 (S.D.N.Y. 1995) (finding, in a disqualification motion,
that a party may submit information ex parte to protect confidential information). Proceeding
partially ex parte here is particularly appropriate given Bove’s apparent lack of recollection. (Bove
Decl. ¶ 11 (Dkt. 120-1) (Bove does “not recall the substance of [ ] conversations”), id. ¶ 12 (“not
recall” the email communications in Exhibits A, B, and C). It would be self-defeating to disclose
to Bove the ex parte portions of the Government’s submissions that establish Bove’s access to
such privileged and confidential information during his Government employment. Giving Bove
the ex parte submissions would risk refreshing Bove’s memories regarding the scope of his
personal and substantial involvement in the TIN Matter, which included his own mental
impressions that he formed based on confidential government information to which he was privy,
and his views on the status and direction of the Government’s investigation. Further, were the
Court to deny the Government’s motion to disqualify Bove, and its request to consider certain
materials ex parte, Bove would then be in possession of the Government’s confidential
information, including as relates to its trial strategy, which he could use to unfairly advantage
Wang. (See, e.g., Gov’t Br. at 22 & n.13; Reply at 4-5, 6, & n.4.)

         In his Sur-Reply, Bove quotes to various news articles relating to Guo and contends that
“information in the prosecutors’ holdings” that “correspond[s]” to the subject matter of such
articles is not privileged under the Evans test. (Sur-Reply at 6-7 (ECF No. 127).) Bove is wrong.
Open-source information in media reports does not constitute a broad waiver of the Government’s
privileges regarding any topic on which the media chooses to report. The Government did not
publicly disclose nor confirm its confidential information; it has not, for example,
                                                              The Government has maintained its
privileges, and it continues to do so through its ex parte submissions.

   II.     Bove Knows Confidential Information From the TIN Matter That Would Create
           A Conflict In His Proposed Representation of Defendant Wang

         As an initial matter, the Government “is not required to make a specific showing that
confidences were passed to [Bove]. Instead, once establishing there is a “substantial relationship”
between the prior representation and the instant matter, the [Government] is entitled to the benefit
of an irrebuttable presumption that confidences were shared.” United States v. Prevezon Holdings
Ltd., 839 F.3d 227, 240 (2d Cir. 2016). The first question, then, is whether there is a “substantial
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it was providing “guidance to the district courts” how to apply the Evans factors and, in so doing,
cited and considered Cook Industries. 2 839 F.3d 227, 238 (2d Cir. 2016). Bove erects a strawman
to argue that Cook Industries was not overruled. (Sur-Reply at 10.) The Government never
suggested that it was. But Prevezon is the Second Circuit’s binding interpretation of the
intersection between Evans (decided in 1983) and Cook Industries (decided in 1978), as well as
subsequent authorities. Prevezon is the instruction manual for how courts in this Circuit must
consider disqualification motions, and its guidance is binding on this Court.

        The Judge Rakoff opinion cited by Bove actually underscores that this Court must follow
Prevezon. In his Sur-Reply, Bove relied on the August 10, 2023 decision by Judge Rakoff in
Jackson Hole Burger to support the proposition that courts follow the tests as explained in Cook
Industries. (Sur-Reply at 10.) But Jackson Hole Burger does not cite Cook Industries at all.
Jackson Hole Burger applies the Evans test, and in so doing, quotes, cites to, and applies the
binding Second Circuit precedent of Prevezon. Jackson Hole Burger, Inc. v. Est. of Galekovic,
No. 23-Cv-04922 (JSR), 2023 WL 5112925, at *3 (S.D.N.Y. Aug. 10, 2023) (“‘A substantial
relationship exists where facts pertinent to the problems underlying the prior representation are
relevant to the subsequent representation.’” (quoting Prevezon Holdings, 839 F.3d at 239)). 3

         It is also meritless for Bove to claim that Prevezon’s application should be limited to civil
cases. Courts in this Circuit (as they are required to do) have applied Prevezon to criminal
disqualifications motions. See e.g., United States v. Huawei Techs. Co., No. 18CR457S2AMD,
2020 WL 903007, at *3 (E.D.N.Y. Feb. 25, 2020) (disqualifying former Government employee in
a criminal case); United States v. DiScala, No. 14-Cr-399 (ENV), 2017 WL 6623985, at *5
(E.D.N.Y. Dec. 28, 2017) (disqualifying a defendant’s attorney in a criminal case and declining to
hold a Curcio hearing). Further evidence that Prevezon applies in criminal matters is the opinion
itself, which cites at least four criminal cases in its analysis. 4 Bove’s attacks against Prevezon
appear to acknowledge that applying it here (which the Court must) disqualifies Bove, because
“facts pertinent to the problems underlying the prior representation are relevant to the subsequent


2
  In prior submissions, the Government referred to this case as “Gov’t of India,” whereas Bove has
referred to it as “Cook Industries.”
3
  Judge Rakoff also quotes Prevezon for the proposition (which is also binding on this Court) that,
“[o]nce a substantial relationship between the cases is established, ‘where the same individual
lawyer participated in the prior and current representation, . . . the movant is entitled to the benefit
of an irrebuttable presumption that confidences were shared.’ Given this irrebuttable presumption,
plaintiff’s evidence that confidences were not shared is irrelevant.” Id. at *4 (quoting Prevezon
Holdings, 839 F.3d at 240). Thus, Bove’s claims that he does not recall the TIN Matter, that there
is an insufficient “inference” of access to privileged information, and that material submitted to
the Court ex parte is worthy of lesser consideration, should be summarily dismissed. (Sur-Reply
at 11; see also Gov’t Br. at 24; Reply 7-9.)
4
  Prevezon Holdings, 839 F.3d at 239 (citing United States v. James, 708 F.2d 40 (2d Cir. 1983)
(affirming district court’s disqualification of defense counsel)); id. at 242 (citing United States v.
Gordon, 334 F.Supp.2d 581, 597 (D. Del. 2004) (disqualifying defense counsel); United States v.
Fawell, No. 02-Cr-210, 2002 WL 1284388, at *7-*8, *11 (N.D. Ill. June 10, 2002) (disqualifying
defense counsel); United States v. Alex, 788 F.Supp. 359, 365 (N.D. Ill. 1992) (disqualifying
defense counsel)).
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representation.” Prevezon, 839 F.3d at 239 (quotation and citation omitted).                 That is
unquestionably the case here.

            B. Bove’s Personal Participation in the Prior Matter was Substantial

        Bove offers that he stands by his Nejad declaration where he confirmed that, as a
supervisor, he “necessarily share[s] responsibility for any failures” concerning “discovery and
disclosure issues.” (Gov’t Ex. F (Bove Decl.); see Sur-Reply at 5).) It is incredible for Bove to
now claim that, after a search warrant is executed (resulting in the seizure of more than a hundred
devices, some of which                                               ), there are no other significant
steps in an investigation—such as, for example, review and analysis of the materials seized during
the search. (Sur-Reply at 5.) The execution of the search warrants and collection of voluminous
evidence was not the end of the TIN Matter—it was just the beginning, and it required ongoing
supervision, including by Bove. (Ravener Aff. at ¶¶ 7, 8, 9, 14, 15(b); Hanft Aff. at ¶¶ 8, 11, 12;
Gov’t Ex. G.)

      IV.      Conclusion

         Bove’s claims that the Government is on a “campaign” or a “mission,” or engaged in a
“pursuit” toward “an unconstitutional objective,” is a distraction. (Sur-Reply at 1, 3, 4.) To be
clear, this motion was made because Government employment is not an opportunity for individuals
to access, and then exploit, confidences learned while in public service to serve their interests in
the private sector. Public service is a public good; public servants must be responsible for
upholding the public’s trust. Through its motion, the Government asks this Court to adhere to
those principles and, consistent with the rules of professional responsibility, post-Government
employment statutory restrictions, and controlling precedent, protect the integrity of this matter.

       For the reasons stated above and in the Government’s prior submissions, Bove should be
disqualified from this matter.


                                                       Respectfully submitted,

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Cc:         All Counsel of Record (by ECF)
